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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


JAMAHL HARIM SIMMONS                          : CIVIL ACTION
                                              :
                     v.                       : NO. 18-873
                                              :
STATE OF PENNSYLVANIA                         :


                                           ORDER

       AND NOW, this 13th day of March 2018, upon review of Plaintiff’s “Response to Order

Dated 2/28/2018” (ECF Doc. No. 4) which we construe as seeking reconsideration of our

February 28, 2018 Order (ECF Doc. No. 2), it is ORDERED Plaintiff’s Motion (ECF Doc. No.

4) is DENIED.1

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                                                    KEARNEY, J.


1
  Mr. Simmons appears to assert he need not file a petition under 28 U.S.C. § 2255 because he
challenges our jurisdiction over him at the time of his sentencing; a challenge he claims is his
right to raise at any time and not through a § 2255 petition. He argues we have the “authority”
and “duty” to “declare the judgment void and discharged.” ECF Doc. No. 4 at 3-4.

As explained in our February 28, 2018 Order, a petition under § 2255 is the “exclusive means by
which a federal prisoner can challenge a conviction or sentence that allegedly is in violation of
the Constitution or federal laws or that is otherwise subject to collateral attack.” See ECF Doc.
No. 2 at n. 1. We gave Mr. Simmons leave to timely file a § 2255 petition to be assigned to the
trial judge. He chose not to do so as yet and instead filed his “Response” which we now construe
as a motion for reconsideration.

A motion for reconsideration may only be granted where the moving party shows: “(1) an
intervening change in the controlling law; (2) the availability of new evidence that was not
available when the court [ruled]; or (3) the need to correct a clear error of law or fact or to
prevent manifest injustice.” Max’s Seafood Café ex rel. Lou-Ann, Inc. v. Quinteros, 176 F.3d
669, 677 (3d Cir. 1999) (citation omitted). “Because federal courts have a strong interest in the
finality of judgments, motions for consideration should be granted sparingly.” Cont’l Cas. Co. v.
Diversified Indus., Inc., 884 F.Supp. 937, 943 (E.D. Pa. 1995). Mr. Simmons simply disagrees
with our interpretation of the law. He does not meet the standards necessary for reconsideration.
